Case 1:17-cv-23216-JEM Document 10 Entered on FLSD Docket 02/27/2018 Page 1 of 2



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                                                                                               - MIAMI
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT O F FLORIDA
                                CaseNo.17-CV-23216-JEM/W CT


   M AURICE SYM ONEU E,KURT M ARIN               case:1:17-Cv-23216-JEM /W CT
      Plaintiffs,



   HSBC BANK US,NATIONALASSOCIATION,
   AS TRUSTEE FOR THE HO LDERS O F NOM URA
   HOM E EQUITY LOAN INC.HOM EEQUITY LOAN
   TRUST SERIES 2007-1,ALBERTELLILAW and
   ASHLEIGH C.M CKENZIE,ESQ,
      Defendants



                                      M OTION TO RECONSIDER



        COM ES NOW Plaintiffsw ith m otion to Reconsiderin response to reportand
   recom m endation from the Court.W e are getting readyto refile,the causesofaction on this
   case is Federal,The trustforthe property does notexhistany Iongeralso w e w ilfshow form s
   forkurtm arin to file forindegency also,and M auric Sym onette isw orking fora non-profit
   organizatkon butthe organization is notm aking any m oney now .AIIthe exhibits are being filed
   forthiscase tom orro,because the Clerk ofthe courthad said thatw e could bring the exhibits in
   Afterthe indigency hasbeen approved ifwe wanted.
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   FO REG OIN G W A S SEN T BY U S M AIL TO : A LBERTELLI LA W P.O .

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